AO 245B-CAED (Rew &

 

United States District Court

Eastern District of California

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November 1, 1987)
ANNA KUZMENKO Case Number: 2:12CRO0062 -01

JEFFREY STANIELS, ESQ.
Defendant's Attorney

THE DEFENDANT:
[+] was found guilty on counts 1 AND 2 of the Indictment after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Numbers
18 USC 1343 WIRE FRAUD (Class © Felony) 2/28/2007 1
18 USC 1343 WIRE FRAUD (Class C Felony} 2/28/2007 2

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[+] Appeal rights given.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

FILED

AUG 27 2015

8/25/2015

 

 

A. MENDEZ, United $tates District Judge
CLERK, U.S. DISTRICT COURT Name & Title of Judicial Officer

EASTERN DISTRICT OF CALIFORNIA “sf X7 2015

Date of
     

   

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CASE NUMBER: 2:12CR00062 -01 Judgment - Page 2 of 6

DEFENDANT: ANNA KUZMENKO

     

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of TIME SERVED as to each count, to run concurrent, for a total term of TIME SERVED.

] No TSR: Defendant shall cooperate in the collection of DNA.

[] The court makes the following recommendations to the Bureau of Prisons:

(] The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district.
[J at. on__.
[] as notified by the United States Marshal.

(] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[] before _on__.
( ] as notified by the United States Marshal.
[] as notified by the Probation or Pretrial Services Officer.
If no such institution has been designated, to the United States Marshal for this district.

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at _ with a certified copy of this judgment.

 

UNITED STATES MARSHAL

By

 

Deputy U.S. Marshal
 
   

AO 245B-CAED (Raa 08

CASE NUMBER: 2:-42CROO062 -01 . ~ Tudgment Page 3 of 6
DEFENDANT: ANNA KUZMENKO

    

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 24 MONTHS on each count, to run
concurrent, for a total term of 24 months. .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[1] The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

[“] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
applicable.)

{“] The defendant shall cooperate in the collection of ONA as directed by the probation officer. (Check, if applicable.)

(] The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shail not leave the judicial district without permission of the court or probation officer;

2) the defendant shail report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer,

4) the defendant shall support his or her dependants and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
any contraband observed in plain view by the probation officer:

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court:

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.
       

   

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CASE NUMBER: 2:12CRO00062 -0 Judgment - Page 4 of 6
DEFENDANT: ANNA KUZMENKO

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall submit to the search of her person, property, home, and vehicle by a United
States probation officer, or any other authorized person under the immediate and personal
supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
Failure to submit to asearch may be grounds for revocation. The defendant shall warn any other
residents that the premises may be subject to searches pursuant to this condition.

2. The defendant shall not dispose of or otherwise dissipate any of her assets until the fine and/or
restitution order by this judgment is paid in full, unless the defendant obtains approval of the
Court or the probation officer.

3, The defendant shall provide the probation officer with access to any requested financial
information.

4. The defendant shall not open additional lines of credit without the approval of the probation
officer.

5. The defendant shall be monitored for a period of 6 months, with location monitoring
technology, which may include the use of radio frequency (RF) or Global Positioning System
(GPS) devices, at the discretion of the probation officer. The defendant shall abide by all
technology requirements and shall pay the costs of location monitoring based upon their ability
to pay as directed by the probation officer. In addition to other court-imposed conditions of
release, the defendant’s movement in the community shall be restricted as follows:

a. The defendant shall be restricted to her residence at all times except for
employment; education; religious services; medical, substance abuse, or
mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities as pre-approved by the probation officer.

6. The defendant shall apply all monies received from income tax refunds, lottery winnings,
inheritance, judgment and any anticipated or unexpected financial gains to any unpaid restitution
ordered by the judgment.

7. The defendant shall cooperate with the ICE agency in determination of her immigration status.
     
  

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CASE NUMBER: 2:12CR00062 -01 Judgment - Page 5 of 6
DEFENDANT: ANNA KUZMENKO

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Assessment Fine Restitution
Totals: $ 200 $ $ to be determined at hearing

[] The determination of restitution is deferred until 11/3/2015 at 1:30 p.m_. An Amended Judgment in a Criminal Case (AO
245C) will be entered after such determination.

[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless

specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
all nonfederal victims must be paid before the United States is paid.

Name of Payes Total Loss* Restitution Ordered Priority or Percentage
TOTALS: $_ $

(} Restitution amount ordered pursuant to plea agreement $ __

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). Allof the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[] The interest requirement is waived for the [] fine [ ] restitution

{] The interest requirement for the [] fine [] restitution is modified as follows:

[]  Ifincarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

{] (fincarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
AO 245B-CAED (RE¥A

      

         

   

 

CASE NUMBER: 2:12CRO0062 -01 Judgment - Page 6 of 6
DEFENDANT: ANNA KUZMENKO
SCHEDULE OF PAYMENTS

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A [] Lump sum payment of $ __ due immediately, balance due

[] notlaterthan ___, or
[] in accordance with []C. [}D, []E,or [ | F below; or
Biv] Payment to begin immediately (may be combined with []C, []D, or[]F below}: or

Cc [] Payment in equal (e.g., weekly, monthly, quarteriy) installments of $_ over aperiod of __ (e.g., months or years),
to commence __ (e.g., 30 or 60 days) after the date of this judgment; or

BD [] Paymentinequal_(e.g., weekly, monthly, quarterly) installments of $_ over a period of __ (e.g., months or years),
to commence __ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

— {[] Payment during the term of supervised release will commence within ___ (e.g., 30 or 60 days) after release from
imprisonment. The court will setthe payment plan based on an assessment of the defendant's ability to pay at that time;
or

F  [] Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. Allcriminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

{] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:

[] The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant's interest in the following property to the United States:
